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                                 UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO et al.

YV                                                            &DVH1R 5: 21-cv-844-FB
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.


                                                        ORDER

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District CourtLQFRPSOLDQFHZLWK/RFDO&RXUW5XOH$7O I  
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                                              September                                                   21




                                                               UNITED STATES DISTRICT JUDGE
